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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

KATERINA GEORGIOU, individually and on
behalf of all others similarly situated,
                                                            CIVIL CASE MANAGEMENT PLAN
                                              Plaintiffs,

                          v.                                Case No. 2:22-cv-02861-BMC

HARMON STORES, INC.,

                                         Defendant.


COGAN, District Judge

         After consultation with counsel for the parties, the following Case Management Plan is
adopted. This plan is also a scheduling order pursuant to Federal Rules of Civil Procedure 16 and
26(f).

A.       The case is to be tried to a jury.

B.       Non-Expert Discovery:

         1.       The parties are to conduct discovery in accordance with the Federal Rules of Civil
                  Procedure and the Local Rules of the Eastern District of New York. All non-expert
                  discovery is to be completed by _______________, which date shall not be
                  adjourned except upon a showing of good cause and further order of the Court.
                  Interim deadlines for specific discovery activities may be extended by the parties
                  on consent without application to the Court, provided the parties are certain that
                  they can meet the discovery completion date.

         Plaintiff proposes that fact discovery be completed by December 7, 2022.

         Defendant proposes a bifurcated one-year discovery schedule with the first phase limited
         to discovery for purposes of class certification motion practice, and, thereafter, if a class is
         certified, full class-wide discovery. Defendant’s position is that interim deadlines for the
         first phase should be set from the Court’s decision on any motion to dismiss and that interim
         deadlines for the second phase should be set from the Court’s decision on any motion for
         class certification, but to be completed no later than June 30, 2023.
         2.       Joinder of additional parties must be accomplished by August 29, 2022.



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        3.        Amended pleadings may be filed without leave of the Court until August 29, 2022.

C.      For all causes of action seeking monetary damages, each party shall identify and quantify
        in Attachment B, annexed hereto, each component of damages alleged; or, if not known,
        specify and indicate by what date Attachment B shall be filed providing such information.

D.      Motions:

        1.        Upon the conclusion of non-expert discovery, and no later than the date provided
                  below, the parties may file dispositive motions. The parties shall agree to a schedule
                  and promptly submit same for the Court’s approval, providing for no more than
                  three rounds of serving and filing papers: supporting affidavits and briefs, opposing
                  affidavits and briefs, and reply affidavits and briefs.

        2.        The last day for filing a letter, pursuant to Rule III.A.2 of the Court’s Individual
                  Practices, requesting a premotion conference in order to file dispositive motions
                  shall be ____________.

        Plaintiff proposes within 30 days following the Court’s decision on Plaintiff’s motion
for class certification.

       To the extent the Court accepts Defendant’s proposed one-year bifurcated discovery
schedule, Defendant proposes July 7, 2023.


                  a.     There shall be no cross-motions. Any motions not made by the agreed date
                         shall, unless the Court orders otherwise, not be considered until after the
                         timely-filed motion is determined.

                  b.     Papers served and filed by the parties shall conform to the requirements set
                         out in the Court’s Individual Practices.

E.      Any request for relief from a date provided in this Case Management Plan shall conform
        to the Court’s Individual Practices and include an order, showing consents and
        disagreements of all counsel, setting out all dates that are likely to be affected by the
        granting of the relief requested, and proposed modified dates. Unless and until the Court
        approves the proposed order, the dates provided in this Plan shall be binding.

F.      Pre-Trial Motions:


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        1.        Applications for adjournments and for discovery or procedural rulings will reflect
                  or contain the positions of all parties, as provided by the Court’s Individual Rules,
                  and are not to modify or delay the conduct of discovery or the schedules provided
                  in this Case Management Plan except upon leave of the Court.

SO ORDERED.



Dated: Brooklyn, New York
       June ____, 2022

                                                                     U.S.D.J.




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                                   ATTACHMENT A

The Parties are to list the discovery activities (i.e., production of documents, number of
depositions, requests to admit, interrogatories) and anticipated completion dates:

         DISCOVERY ACTIVITIES                              COMPLETION DATE
 1. Requests for production of documents         Plaintiff proposes that First Requests for
                                                 Production of documents be served on or
                                                 before 7/8/2022 and responded to on or
                                                 before 8/8/2022

                                                 To the extent the Court accepts Defendant’s
                                                 proposed bifurcated discovery schedule,
                                                 Defendant proposes 90 days after the
                                                 Court’s decision on a motion to dismiss for
                                                 the first phase and 90 days after the Court’s
                                                 decision granting any motion for class
                                                 certification for the second phase.
 2. Interrogatories                              Plaintiff proposes that First Interrogatories
                                                 be served on or before 7/8/2022 and
                                                 responded to on or before 8/8/2022

                                                 To the extent the Court accepts Defendant’s
                                                 proposed bifurcated discovery schedule,
                                                 Defendant proposes 90 days after the
                                                 Court’s decision on a motion to dismiss for
                                                 the first phase and 90 days after the Court’s
                                                 decision granting any motion for class
                                                 certification for the second phase.
 Good Faith Meet and Confer                      Plaintiff proposes that the parties meet and
                                                 confer, if necessary, regarding the responses
                                                 to interrogatories and document requests on
                                                 or before 8/15/2022

                                                 Defendant submits that this deadline,
                                                 which was added by Plaintiff, is unnecessary
                                                 and setting it now is premature.
 Amendment of Responses to                       Plaintiff proposes that Amended Responses
 Interrogatories and/or Document                 to Interrogatories and Document Requests
 Requests, as necessary                          be served, if necessary, on or before
                                                 8/22/2022

                                                 Defendant submits that this deadline,
                                                 which was added by Plaintiff, is unnecessary
                                                 and setting it now is premature.


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 Deadline to raise discovery issues with the       Plaintiff proposes that discovery disputes
 Court Regarding Initial Discovery                 concerning compliance with First
 Requests                                          Interrogatories and Requests for Production
                                                   of Documents be raised with the Court or
                                                   before 9/5/2022.

                                                   Defendant submits that this deadline,
                                                   which was added by Plaintiff, is unnecessary
                                                   and setting it now is premature.
 3. Requests to admit, Supplemental                Plaintiff proposes: To be served 10/7/2022;
 Requests for Production of Documents              to be responded to 11/7/2022.
 and Supplemental Interrogatories
                                                   To the extent the Court accepts Defendant’s
                                                   proposed bifurcated discovery schedule, with
                                                   respect to requests to admit, Defendant
                                                   proposes 120 days after the Court’s decision
                                                   on a motion to dismiss for the first phase and
                                                   120 days after the Court’s decision granting
                                                   any motion for class certification for the
                                                   second phase. With respect to supplemental
                                                   requests for production and interrogatories,
                                                   Defendant submits that this deadline, which
                                                   was added by Plaintiff, is unnecessary and
                                                   setting it now is premature.
 4. Depositions                                    Plaintiff proposes 9/30/2022

                                                   To the extent the Court accepts Defendant’s
                                                   proposed bifurcated discovery schedule,
                                                   Defendant proposes 180 days after the
                                                   Court’s decision on a motion to dismiss for
                                                   the first phase and 180 days after the Court’s
                                                   decision granting any motion for class
                                                   certification for the second phase.
 5.



 6.



 7.




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 8.



 9.



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                                      ATTACHMENT B

For all causes of action seeking monetary damages, each party shall identify and quantify
each component of damages alleged:


1.      PLAINTIFF’S CLAIMS:




In order to prepare class action damages plaintiff will need:
    1. Number of Class Members
    2. Total Payroll for class on a yearly basis


2.      COUNTERCLAIMS AND CROSS-CLAIMS:


Not applicable.




3.      THIRD-PARTY CLAIMS:


Not applicable.




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